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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

     1. JOHN MCGUIRE                                )
                                                    )
                      Plaintiff,                    )
                                                    )
     v.                                             )      Case No. 19-CV-608-TCK-FHM
                                                    )
     1. BAKER POOLS, LLC                            )      Jury Trial Demanded
     a domestic limited liability company           )
                                                    )      Attorney Lien Claimed
                                                    )      For the Firm
                      Defendant                     )

                                           COMPLAINT

              COMES NOW, the Plaintiff, John McGuire (“Plaintiff”), by and through his attorneys of

     record, Charles C. Vaught and Jessica N. Vaught of Armstrong & Vaught, P.L.C. and Donald E.

     Smolen, II of Smolen Law, and hereby brings his wage claim pursuant to Section 16(b) of the Fair

     Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201, et seq. (the “FLSA” or “the Act”),

     against Baker Pools, LLC (“Defendant”) for violations of the statute committed by Defendant.

                             JURISDICTION, VENUE, AND PARTIES

     1. This court has jurisdiction pursuant to 28 U.S.C. § 1331 in that the Plaintiff is alleging a

          violation of a federal question; more particularly, a violation of the Fair Labor Standards Act

          of 1938, 29 U.S.C. §§ 201, et seq. (hereinafter the “FLSA” or “the Act”).

     2. This Court has jurisdiction over the parties and the subject matter of this action, and this action

          properly lies in the Northern District of Oklahoma, pursuant to 28 U.S.C. § 1331 and 28 U.S.C.

          § 1391(b), because the unlawful employment practices alleged herein arose in this judicial

          district.

     3. Plaintiff is, and was at all times relevant hereto, a resident of the State of Oklahoma residing

          in Tulsa County, Oklahoma.

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     4. Defendant is, and was at all times relevant hereto, a domestic corporation with retail locations

        located in Jenks, Tulsa County, Oklahoma.

     5. Defendant is an employer, as that phrase is used under the FLSA, in that it is an enterprise

        employing more than 2 employees and has an annual dollar volume of sales in excess of

        $500,000.00.

     6. Plaintiff was, at all times relevant hereto, an employee as defined by the FLSA in that he was

        employed by an employer.

                                           OPERATIVE FACTS

     7. Defendant hired Plaintiff as a Purchasing and Warehouse Manager in April 2010.

     8. In his role, Plaintiff’s job duties included: purchasing, warehousing, pulling orders, loading

        and unloading trucks, stocking shelves, inventory control, assisting sales with product

        knowledge, writing procedures, helping the service department, helping with retail services

        and helping with maintenance.

     9. When Plaintiff started his employment, he was required to utilize a time clock system to record

        his hours worked and lunch breaks were automatically deducted from his time regardless of

        whether a lunch was actually taken.

     10. Plaintiff did not regularly supervise any employees, and only partially supervised one

        employee.

     11. During Plaintiff’s tenure, Defendant failed to pay Plaintiff an overtime rate of one and one-

        half times his regular rate of pay for all hours worked over forty (40) in each one-week period.

     12. Defendant terminated Plaintiff in April 2019 and has failed to tender all wages due to Plaintiff.




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                                        CAUSE OF ACTION
                         (Failure to Pay Overtime in violation of the FLSA)

     13. Plaintiff incorporates and re-alleges the foregoing paragraphs as though fully set forth herein

        and would further state, as follows:

     14. Plaintiff asserts this claim for damages and declaratory relief pursuant to the FLSA, 29 U.S.C.

        § 201, et seq.

     15. At all relevant times, Defendant was Plaintiff’s employer within the meaning of the FLSA, 29

        U.S.C. § 203.

     16. At all relevant times, Defendant has been, and continues to be, an enterprise engaged in

        commerce within the meaning of the FLSA, 29 U.S.C. § 203.

     17. 29 U.S.C. §§ 206 and 207 requires any enterprise engaged in commerce to pay all employees

        a minimum wage for all hours worked up to forty (40) in one week and to pay time and a half

        of regular wages for all hours worked over forty (40) hours in a week, unless an employee

        meets certain exemptions set forth in 29 U.S.C. § 213 and all accompanying Department of

        Labor regulations.

     18. Defendant intentionally misclassified Plaintiff as exempt from the overtime requirements of

        the FLSA, when in fact Plaintiff was a non-exempt employee entitled to overtime pay.

     19. Moreover, Defendant impermissibly deducted time from Plaintiff’s pay for lunches which

        were not taken.

     20. Despite the entitlement of Plaintiff to overtime premiums under the FLSA, Defendant failed

        to pay Plaintiff an overtime rate of one and one-half times his regular rate of pay for all hours

        worked over forty (40) in each one-week period.




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     21. By reason of the unlawful acts alleged herein, Defendant is liable to Plaintiff for monetary

        damages, liquidated damages, and costs, including reasonable attorneys’ fees, for all violations

        that occurred within the three (3) years prior to the filing of this Complaint

        WHEREFORE, the Plaintiff prays for Judgment against the Defendant for unpaid overtime;

     liquidated damages in an equal amount to the unpaid overtime; back pay, front pay; damages for

     emotional distress; the cost of the action including a reasonable attorney fee and other relief the

     court deems is just and equitable.

                                                          Respectfully submitted,

                                                          ARMSTRONG & VAUGHT, P.L.C.

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